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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Civil No. 0:24-cv-02944-KMM-JFD

 United States of America,

                              Plaintiff,
                 v.
 1.        Evergreen Recovery Inc.;                                 STIPULATION
 2.        Evergreen Mental Health Services Inc.;                  REGARDING THE
 3.        Ethos Recovery Clinic Inc.                               CESSATION OF
 4.        Second Chances Recovery Housing Inc.;                      PAYMENT
 5.        Second Chances Sober Living, Inc.;
 6.        David Backus;
 7.        Shawn Grygo; and
 8.        Shantel Magadanz,

                              Defendants.

       This Stipulation between the United States of America, Defendants Shawn Grygo

and David Backus (hereinafter “Defendants”), and Receiver Ranelle Leier, appointed by

this Court to represent the interests of the Evergreen Entities1 in this matter, ECF No. 44,

(collectively (the “Parties”), is intended to memorialize an agreement between the Parties

to cease payments being made from Defendants’ frozen assets, being held by the Receiver,

to Defendants.

       1.       On October 3, 2024, the Court issued an Order permitting Defendants to sell

some personal assets, under specific terms and conditions, to pay living expenses. Dkt. 59.

The Court’s order provided that “Ms. Grygo and Mr. Backus may retain the value of the

assets, not to exceed the total of $32,500, which represents $6,500 per month for the months


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        The Evergreen Entities are Evergreen Recovery Inc., Evergreen Mental Health
Services Inc., Ethos Recovery Clinic Inc., Second Chances Recovery Housing Inc., and
Second Chances Sober Living Inc.
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of August through December. Any excess funds beyond that amount are subject to deposit

with the receiver, at the receiver’s discretion.”

       2.     On November 13, 2024, Grygo and Backus sold four four-wheelers and a

trailer for $23,000. On November 15, 2024, Grygo and Backus sold a pontoon boat for

$100,000.

       3.     Pursuant to the Court’s order, Backus and Grygo gave the purchase proceeds

exceeding $32,500—a total of $90,500—to the Receiver.

       4.     It is the government’s position that the entire $90,500 then was to be held by

the Receiver for the government and that no further distributions were to be made to Backus

and Grygo.

       5.     Grygo and Backus’s request to the Court sought permission to sell personal

assets and use the proceeds for monthly living expenses. Dkt. 56. The government’s

response to this request included a calculation of the IRS standard for monthly living

expenses of a family of four in Washington County, Minnesota. Dkt. 58. The Receiver

interpreted the Court’s Order granting Grygo and Backus’s request as providing for a

$6,500 per month living expense payment for Defendants.

       6.     Pursuant to the Receiver’s understanding, the Receiver continued to make

distributions to Grygo and Backus of $6,500 monthly for the months of January through

April 2025.

       7.     When the government learned of these payments it objected to them. The

government recently told Defendants it was going to move the Court to cease these




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payments. To avoid further litigation over this issue, however, the Parties have reached a

compromise.

      8. Therefore, the Parties agree that:

              a. The Receiver may make one further payment of $3,000 to Defendants

                 from the frozen assets the Receiver is holding;

              b. After this single payment of $3,000 all further payments being made to

                 Grygo and Backus will cease, except for the mortgage payment outlined

                 in paragraph 9 of the Court’s Preliminary Injunction Order, ECF No. 44;

              c. Other than the mortgage payment described above, the Receiver will

                 make no further distributions to Defendants absent either a Court order

                 or the express prior written consent of the government.

      9.      Counsel for Defendant Shantel Magadanz has indicated that Ms. Magadanz

does not oppose the Parties’ agreement.

      10.     The Parties represent and warrant that they are fully authorized to execute

this agreement as indicated below.

                                [Signature Page Follows]




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